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                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )                 1:21-CR-00061-LEK-1
                              )
          Plaintiff,          )
                              )
     vs.                      )
                              )
MARTIN KAO,                   )
                              )
          Defendant.          )
_____________________________ )


  ACCEPTANCE OF PLEA OF GUILTY, ADJUDICATION OF GUILT AND
                   NOTICE OF SENTENCING

             Pursuant to the Report and Recommendation of the United States

Magistrate Judge, to which there has been no timely objection, the plea of guilty of

the Defendant to Counts 1, 2, 3, 4, 5, 6, 7 and 8 of the Indictment is now Accepted

and the Defendant is Adjudged Guilty of such offenses. All parties shall appear

before this Court for sentencing as directed.

             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, September 22, 2022.



                                                        /s/ Leslie E. Kobayashi
                                                        Leslie E. Kobayashi
                                                        United States District Judge
